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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

                                                          )
UNITED STATES OF AMERICA                                  )     JUDGMENT IN A CRIMINAL CASE
                                                          )
v.                                                              Case Number: 1:18-CR-00181-MLB
                                                          )     USM Number: 71666-019
BENJAMIN JENKINS                                          )
a/k/a “Rei,” “Dani Domo,” “Sluttyrose 123,”               )     Sarah M. Timmers and Sydney R. Strickland
“Heiwa7340,” “Poetic Justice”                             )     Defendant’s Attorneys




THE DEFENDANT:

The defendant was found guilty by a jury on Counts 1 through 12 of the second superseding indictment.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                       Offense Ended            Counts

18 U.S.C. §§ 2251(a) and (e)         Production and Attempted                August 31, 2016        1, 2, 4, 5, 7,
                                     Production of Child                                            8, 9, 10, and
                                     Pornography                                                          12


18 U.S.C. §§ 2252(a)(2) and          Distribution of Child                   July 5, 2016           3, 6, and 11
(b)(1)                               Pornography

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
Attorney of material changes in economic circumstances.


                                                         September 22, 2020
                                                         Date of Imposition of Judgment




                                                         September 22, 2020
                                                         Date
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                                               IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a term
of THREE HUNDRED SIXTY (360) MONTHS as to Counts 1, 2, 4, 5, 7, 8, 9, 10, and 12, to be served
CONCURRENTLY, and ONE HUNDRED TWENTY (120) MONTHS as to Counts 3, 6, and 11, to be served
CONCURRENTLY to one another but CONSECUTIVELY to Counts 1, 2, 4, 5, 7, 8, 9, 10, and 12, for a total
sentence of FOUR HUNDRED EIGHTY (480) MONTHS.

The Court recommends that the defendant be placed at a facility to allow the defendant to participate in (1) an
intensive Dialectical Behavior Therapy (DBT) Program, (2) sex offender treatment, and (3) substance abuse
treatment.

The defendant is remanded to the custody of the United States Marshal.




                                                    RETURN

I have executed this judgment as follows:




 Defendant delivered on                                     to

 at                                         , with a certified copy of this judgment.



                                                                           UNITED STATES MARSHAL




                                                                       DEPUTY UNITED STATES MARSHAL
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                                         SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of LIFE.




                                       MANDATORY CONDITIONS

1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
   15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
   court.
4. You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
   a sentence of restitution. Restitution payments must be made to Clerk, U.S. District Court, Northern District
   of Georgia, 2211 U.S. Courthouse, 75 Ted Turner Dr. SW, Atlanta, GA 30303.
5. You must cooperate in the collection of DNA as directed by the probation officer.
6. You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C.
   § 20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender
   registration agency in the location where you reside, work, are a student, or were convicted of a qualifying
   offense.

You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.
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                                      STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

   1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
         time frame.
   2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
         and when you must report to the probation officer, and you must report to the probation officer as instructed.
   3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the court or the probation officer.
   4.    You must answer truthfully the questions asked by your probation officer.
   5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
         arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
         notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or expected change.
   6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
   7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
         from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
         excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your
         job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer
         at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
         hours of becoming aware of a change or expected change.
   8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
         convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
         the probation officer.
   9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
         nunchakus or tasers).
   11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the court.
   12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
         require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
         the person and confirm that you have notified the person about the risk.
   13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov

I understand that a violation of any of these conditions of supervised release may result in modification, extension, or revocation of my
term of supervision.


 Defendant's Signature                                                      Date

 USPO's Signature                                                           Date
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                                 SPECIAL CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following special conditions of supervision.

   1. You must not view or possess any “visual depiction” (as defined in 18 U.S.C. § 2256), including any
      photograph, film, video, picture, or computer-generated image or picture, whether made or produced by
      electronic, mechanical, or other means, of “sexually explicit conduct” (as defined in 18 U.S.C. § 2256).

   2. You must actively participate in a sex offense specific evaluation at a program approved by the U.S.
      Probation Office. The Court waives any costs associated with the evaluation.

       You must participate in a sex offense specific treatment program and follow the rules and regulations of
       the program. The program must be approved by the U.S. Probation Office. The probation officer will
       supervise your participation in the program (provider, location, modality, duration, intensity, etc.). The
       Court waives the costs of treatment.

       You must participate in visual response testing as part of your required participation in a sex offense
       specific assessment and / or treatment. The Court waives any costs associated with the testing.

   3. To monitor compliance with the conditions of supervision and treatment program requirements,         you
      must submit to periodic polygraph examinations at the discretion of the probation officer. The examiner
      must be approved by the U.S. Probation Office. The Court waives any costs associated with the evaluation.

       You must participate in a polygraph examination as part of your required participation in a sex offense
       specific evaluation. The Court waives any costs associated with the examination.

   4. You must not possess children’s clothing, toys, and / or games, without the approval of your probation
      officer.

   5. You will have no contact, whether directly in person or indirectly through any means of communication,
      with any child under the age of 18, not including your own child, nor with any person unable to give
      consent due to mental or emotional limitations unless you have permission from your probation officer.
      If you do have incidental contact with any child under the age of 18, including your own child, or with
      any person unable to give consent due to mental or emotional limitations, you shall immediately remove
      yourself from the situation. You must report any such contact to the probation officer within 24 hours and
      submit a written description of the incident to the probation officer within 72 hours.

       You must not communicate, or otherwise interact, with any of your victim(s) either indirectly or directly,
       or through someone else, without first obtaining permission of the probation officer.

       You must not date or marry anyone who has children under the age of 18 unless you have
       obtained permission from the probation officer.

       You must not associate or correspond with any known sex offender except in an approved
       treatment program setting unless you have obtained permission from the probation officer.

   6. You are prohibited from engaging in any occupation, business, profession, or volunteer work where you
      have access to children under the age of 18 without prior written approval from the probation officer.
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   7. You must not patronize any adult entertainment establishments or adult toy / novelty shops.

       You must not travel to or remain at any place where you know controlled substances are illegally sold,
       used, distributed, or administered without first obtaining the permission of the probation officer.

       You must not travel to or remain at any place where you know children under the age of 18 are likely to
       congregate, including parks, schools, arcades, playgrounds, and childcare facilities  without      first
       obtaining the permission of the probation officer.

       You must not travel to or remain at a place for the primary purpose of observing or contacting children
       under the age of 18.

   8. You must disclose all locations where you receive mail to your probation officer.

       You must disclose the location of any storage facilities and / or buildings to which you have access.

   9. Pursuant to 18 U.S.C. §§ 3563(b)(23) or 3583(d)(3), and because you are a felon and required to register
      under the Sex Offender Registration and Notification Act, you must submit your person, and any property,
      house, residence, vehicle, papers, computer, other electronic communications or data storage devices or
      media, and effects to search at any time, with or without a warrant, by any law enforcement or probation
      officer with reasonable suspicion concerning a violation of a condition of supervised release or unlawful
      conduct, and by any probation officer in the lawful discharge of the officer’s supervision functions.

   10. You must not access the Internet except for reasons approved in advance by the probation officer.

   11. You must cooperate with the U.S. Probation Office in the monitoring of any computer system, Internet
       capable devices, and / or similar electronic devices to which you have access. Cooperation includes, but
       is not limited to, identifying computer systems, Internet capable devices, and / or similar electronic devices
       (as defined in 18 U.S.C. § 1030(e)(1)) to which you have access and allowing the installation of monitoring
       software/hardware on said devices. You and/or your probation officer shall inform all parties that access
       a monitored computer or similar electronic device that the device is subject to search and monitoring. You
       may be limited to possessing only one personal Internet capable device to facilitate your probation officer's
       ability to effectively monitor your Internet related activities. You must not remove, tamper with, reverse
       engineer, or in any way circumvent installed software. You must provide passwords for said computer
       systems. The Court waives the costs of monitoring.

   12. You must make full and complete disclosure of your finances and submit to an audit of your financial
       documents at the request of your probation officer. You must provide the probation officer with full and
       complete access to any requested financial information and authorize the release of any financial
       information. The probation office may share the financial information with the United States Attorney’s
       Office.

       You must not incur new credit charges or open additional lines of credit without the approval of the
       probation officer.
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                                  CRIMINAL MONETARY PENALTIES

Payment of criminal monetary penalties is due during the period of imprisonment. All criminal monetary
penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility
Program, are to be made payable to the Clerk, U.S. District Court, 2211 U.S. Courthouse, 75 Ted Turner Drive,
SW, Atlanta, GA 30303. Any balance that remains unpaid at the commencement of the term of supervision shall
commence within 60 days after release from imprisonment on the following terms: payable at a rate of no less
than $250 monthly to U.S. District Court Clerk. You must notify the Court of any changes in economic
circumstances that might affect the ability to pay this financial penalty.

       Special Assessment

       $1,200.00. The special assessment shall be paid to the United States immediately.

       Fine

       The Court waives the fine and cost of incarceration.
       Restitution

       The government is to provide any restitution information within 30 days; if needed, a restitution hearing
       will be scheduled.

       JVTA Assessment

       The Court waives the additional special assessment required under the Justice for Victims of Trafficking
       Act of 2015, 18 U.S.C. § 3014(a).
